             Case 19-05688-dd                Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                      Desc
                                              Exhibit Petition part 2 Page 1 of 42

             Jennifer Lee Stepp

             Matthew Ormiston Coons



                                  District of South Carolina




Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s




   ✔                                                                     Schedule A/B: Property




   Volkswagen Credit Inc                                           2019, Volkswagon Atlas

   1401 Franklin Blvd

   Libertyville                       IL       60048


                                                                   Residential Property lease for Debtors' home.
   Jeffery Driesen                                                 Lessee

   343 Clayton Dr

   Charleston                         SC       29414


                                                                   2017, Dodge Ram
   Ally Financial

   200 Renaissance Ctr # B0

   Detroit                            MI       48243




                                                                                                                          1
         Case 19-05688-dd                  Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                  Desc
                                            Exhibit Petition part 2 Page 2 of 42

           Jennifer Lee Stepp


           Matthew Ormiston Coons


                                District of South Carolina




Sc he dule H : Y our Code bt ors




  ✔


                                                                       Community property states and territories

  ✔




  Schedule D                        Schedule E/F                Schedule G                           Schedule D,
  Schedule E/F, or Schedule G

   Column 1:                                                                 Column 2:




                                                                                                                    1
            Case 19-05688-dd             Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                 Desc
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              Jennifer Lee Stepp

              Matthew Ormiston Coons

                                 District of South Carolina




Sche dule I : Your I nc om e



Pa rt 1 :   De sc ribe Em ployme nt




                                                              ✔                               ✔



                                                              Vet                             Grocer
                                                              Folly Road Animal Hospital      Whole Foods Market Group



                                                              1038 Folly Road                 550 Bowie St




                                                              Charleston, SC 29412            Austin, TX 47755




Pa rt 2 :   Give De t a ils About Mont hly I nc ome




                                                                                  8,900.00         2,919.63
                                                                                       0.00            0.00

                                                                                  8,900.00         2,919.63
    Case 19-05688-dd
    Jennifer Lee Stepp
                                Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                      Desc
                                 Exhibit Petition part 2 Page 4 of 42 if known


                                                                                  8,900.00    2,919.63


                                                                                       0.00    266.07
                                                                                       0.00      0.00
                                                                                       0.00      0.00
                                                                                       0.00      0.00
                                                                                       0.00    862.85
                                                                                       0.00      0.00
                                                                                       0.00      0.00
                         Child Life                                                               1.37




                                                                                      0.00    1,130.29
                                                                                  8,900.00    1,789.34




                                                                                       0.00       0.00
                                                                                       0.00       0.00


                                                                                    433.33        0.00

                                                                                       0.00       0.00
                                                                                       0.00       0.00




                                                                                       0.00       0.00

                                                                                       0.00       0.00
                                                                                       0.00       0.00
                                                                                    433.33        0.00

                                                                                  9,333.33    1,789.34       11,122.68

                                                               Schedule J



                                                                                              Schedule J
                                                                                                                  0.00

                                                                                                             11,122.68
                Summary of Your Assets and Liabilities and Certain Statistical Information,




           Income for Debtor 1 will likely decrease during the seasonal slump in the winter and spring.
✔
               Case 19-05688-dd        Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                  Desc
                                          Exhibit
                Jennifer Lee Stepp & Matthew      Petition
                                             Ormiston Coonspart 2 Page 5 of 42
 Debtor 1                                                       _               Case number (if known)
               First Name   Middle Name   Last Name



                                             Continuation Sheet for Official Form 106I


1. Describe Employment:

Debtor: Jennifer Lee Stepp

Occupation: Vet

Name of Employer: Oceanside Veterinary Clinic

Employer's Address: 1509 Folly Road, Charleston, SC 29412

Length of Employment:

-------

Debtor: Jennifer Lee Stepp

Occupation: Vet

Name of Employer: Sweetgrass Animal Hospital

Employer's Address: 9730 Dorchester Road Unit 101, Summerville, SC 29485

Length of Employment:

-------

Debtor: Jennifer Lee Stepp

Occupation: Vet

Name of Employer: Bees Ferry Animal Hospital

Employer's Address: 3422 Shelby Ray Court, Charleston, SC 29414

Length of Employment:

-------




   Official Form 106I                                 Schedule I: Your Income
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                                       Exhibit Petition part 2 Page 6 of 42


        Jennifer Lee Stepp

        Matthew Ormiston Coons


                             District of South Carolina




✔
    ✔



                                 ✔

                                                          Son                   10
                                                                                           ✔
                                                          Son                   2
                                                                                           ✔




                                                                                           1,950.00


                                                                                                0.00
                                                                                                0.00
                                                                                            100.00
                                                                                                0.00
Case 19-05688-dd             Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34   Desc
                              Exhibit Petition part 2 Page 7 of 42
Jennifer Lee Stepp




                                                                                        0.00



                                                                                   250.00
                                                                                       85.00
                                                                                   450.00
                                                                                        0.00
                                                                                  1,200.00
                                                                                  1,950.00
                                                                                   400.00
                                                                                   210.00
                                                                                  1,065.00

                                                                                   500.00

                                                                                   500.00
                                                                                        0.00



                                                                                   130.00
                                                                                        0.00
                                                                                   231.00
                     Disability                                                    200.00


                                                                                   900.00


                                                                                   301.00
                                                                                   470.00
                                                                                        0.00
                                                                                        0.00


                                                                                        0.00


                                                                                        0.00


                                                                                        0.00
                                                                                        0.00
                                                                                        0.00
                                                                                        0.00
                                                                                        0.00
    Case 19-05688-dd              Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34   Desc
                                   Exhibit Petition part 2 Page 8 of 42
    Jennifer Lee Stepp




         Professional Licenses, dues, and professional insurance.
                                                                                        130.00




                                                                                      11,022.00


                                                                                      11,022.00


                                                                                      11,122.68

                                                                                      11,022.00

                                                                                         100.68




✔
           Case 19-05688-dd            Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                               Desc
                                        Exhibit Petition part 2 Page 9 of 42


         Jennifer Lee Stepp

          Matthew Ormiston Coons

                          District of South Carolina




De cla rat ion About a n I ndividua l De bt or’s Sche dule s




          Sign Be low




  ✔

                                                                         Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                   Signature




      /s/ Jennifer Lee Stepp                           /s/ Matthew Ormiston Coons


        10/29/2019                                       10/29/2019
                Case 19-05688-dd                 Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34   Desc
                                                  Exhibit Petition part 2 Page 10 of 42


                Jennifer Lee Stepp

                  Matthew Ormiston Coons



                                      District of South Carolina




St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y




 Pa rt 1 :     Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore




      ✔




     ✔




                                                                                ✔                        ✔


             110 Brynmoor Court                                     06/2016
                                                                    06/2018


             Goshen                        CT   06756


                                                                                ✔                        ✔


             50 S. Battery Street                                   01/2018
                                                                    01/2018
             Apt B

             Charleston                 SC      29401



                                                                                                    Community property states
    and territories
     ✔

                                     Schedule H: Your Codebtors
           Case 19-05688-dd                Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34   Desc
                                            Exhibit Petition part 2 Page 11 of 42
            Jennifer Lee Stepp                                                   if known



Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e




   ✔




                                                  ✔                          ✔
                                                               70,000.00                      22,253.39



                                                  ✔
                                                               3,292.00                       0.00
                                    2018          ✔



                                                  ✔

                                                               41,544.00                      0.00
                                    2017          ✔




                                                              other income




   ✔
             Case 19-05688-dd               Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34             Desc
                                             Exhibit Petition part 2 Page 12 of 42
             Jennifer Lee Stepp                                                               if known




Pa rt 3 :   List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y




    ✔                                                                        Consumer debts




             ✔
           Case 19-05688-dd          Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                   Desc
                                      Exhibit Petition part 2 Page 13 of 42
           Jennifer Lee Stepp                                               if known




Insiders




✔




                                                                                       Business loan repayments. Payments
     DECO Associates                                                                   were made from Jemaco LLC DBA Toll
                                              06/2018   16,550.00   250,000.00
                                                                                       Gate Animal Clinic to Deco Associates.

      17 Brookside Lane                       10/2018




      Sherman                   CT    06784




✔
            Case 19-05688-dd                Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                                  Desc
                                             Exhibit Petition part 2 Page 14 of 42
            Jennifer Lee Stepp                                                                           if known




Pa rt 4 :   I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s




   ✔



            Vca Charlestowne Animal Hospital     employment signing bonus; Date
            VS Jennifer Stepp                    filed: 06/19/2019                      Charleston County Clerk of Court


                                                                                        100 Broad St
                                                                                                                                ✔


                                                                                        Charleston           SC     29401
                2019CV101150-1266

             DRIDGE LAKE PROPERTY                Foreclosure: POA dues collection
             OWNERS ASSOCIATION, INC. v.         and foreclosure action.; Date filed:   Superior Court Litchfield
             COONS, ATTHEW 0. A/K/A              12/10/2018
             MATTHEW COONS Et Al
                                                                                        50 Field St,
                                                                                                                                ✔


                                                                                        Torrington           CT     06790
                LLI-CV18-6020539-S




   ✔




                                                           POA dues collection and foreclosure action.
             Woodridge Lake POA                                                                                                0.00
                                                                                                                    12/2018


             C/O Ronald Barba Esq.



             250 State St, #D-2
                                                             ✔


             North Haven             CT      06473



                                                           HOA foreclosure
                                                                                                                                Unknown
             Woodridge Lake Sewer District                                                                          12/2018


             113 Brush Hill Road



             PO Box 258
                                                             ✔

             Goshen                  CT      *06756
             Case 19-05688-dd               Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34   Desc
                                             Exhibit Petition part 2 Page 15 of 42
             Jennifer Lee Stepp                                                if known




    ✔




    ✔




Pa rt 5 :   List Ce rt a in Gift s a nd Cont ribut ions




    ✔
                Case 19-05688-dd                      Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34   Desc
                                                       Exhibit Petition part 2 Page 16 of 42
                Jennifer Lee Stepp                                                            if known




    ✔




Pa rt 6 :       List Ce rt a in Losse s




     ✔




                                                                    Schedule A/B: Property.




Pa rt 7 :      List Ce rt a in Pa ym e nt s or T ra nsfe rs




    ✔




            ____________________________________________
        Case 19-05688-dd                      Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34   Desc
                                               Exhibit Petition part 2 Page 17 of 42
        Jennifer Lee Stepp                                                       if known




    ________________________________________________




✔




✔
            Case 19-05688-dd                Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                           Desc
                                             Exhibit Petition part 2 Page 18 of 42
            Jennifer Lee Stepp                                                                         if known




                                              asset-protection devices
    ✔




Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s




    ✔




   ✔
              Case 19-05688-dd              Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34   Desc
                                             Exhibit Petition part 2 Page 19 of 42
              Jennifer Lee Stepp                                                  if known




   ✔




Pa rt 9 :      I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else



    ✔




Pa rt 1 0 :    Give De t a ils About Environm e nt a l I nform a t ion



   Environmental law



   Site


   Hazardous material




    ✔
              Case 19-05688-dd           Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                              Desc
                                          Exhibit Petition part 2 Page 20 of 42
              Jennifer Lee Stepp                                                           if known




    ✔




    ✔




Pa rt 1 1 :    Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss



        ✔




    ✔


         Tailwaggers at Toll Gate
                                               Pet Boarding Facility

         568 Torrington Road                                                                          8   1   2    1   3   0     6   3    7




         Litchfield             CT   06759     Gwen Burgess                                           09/30/2015               Current



          Barking Mad
                                               Real Estate Holding Co

          568 Torrington Road                                                                         8   2   2    0   9   3     1   2    4




          Litchfield            CT   06759     Gwen Burgess                                                                     Current
               Case 19-05688-dd               Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                                   Desc
                                               Exhibit Petition part 2 Page 21 of 42
               Jennifer Lee Stepp                                                                     if known




                                                    Vet Clinic
            Jemaco LLC (d/b/a Toll Gate Animal Clinic)

                                                                                                                 4   7   5   0   6     5   2   2   0
            568 Torrington Road




            Litchfield             CT   06759                                                                                        Current
                                                    Gwen Burgess




    ✔




Pa rt 1 2 :     Sign Be low


                                        Statement of Financial Affairs




            /s/ Jennifer Lee Stepp
            ______________________________________________          /s/ Matthew Ormiston Coons
                                                                    _____________________________


                 10/29/2019
                ________________                                          10/29/2019
                                                                         _________________

                                           Your Statement of Financial Affairs for Individuals Filing for Bankruptcy


        ✔




        ✔

                                                                                                          Bankruptcy Petition Preparer’s Notice,
                                                                                                 Declaration, and Signature
              Case 19-05688-dd           Doc 1-1       Filed 10/29/19 Entered 10/29/19 17:15:34               Desc
               Jennifer Lee Stepp & MatthewExhibit
                                            OrmistonPetition
                                                     Coons    part 2 Page 22 of 42
 Debtor 1                                                         _                  Case number (if known)
              First Name   Middle Name   Last Name



                                             Continuation Sheet for Official Form 107
9) Lawsuits

Case Title: WOODRIDGE LAKE PROPERTY OWNERS ASSOCIATION, INC. v. COONS, MATTHEW
O. A/K/A MATTHEW COONS Et Al

Case Number: LLI-CV18-6020539-S

Court Name: Litchfiled Clerk of Court

Court Address: 50 Filed St, Torrington, CT 06790

Case Status: Pending

Nature of the case: Foreclosure: HOA foreclosure

-------

Case Title: MIDWEST BUSINESS CAPITAL, A DIVISION OF UNITED MID v. BARKING MAD,
LLC Et Al

Case Number: LLI-CV19-6021903-S

Court Name: Litchfiled Clerk of Court

Court Address: 50 Filed St, Torrington, CT 06790

Case Status: Pending

Nature of the case: Foreclosure: Foreclosure and collection on business
property; Date filed: 05/07/2019

-------

Case Title: DITECH FINANCIAL LLC v. COONS, MATTHEW

Case Number: LLI-CV19-6023495-S

Court Name: Litchfiled Clerk of Court

Court Address: 50 Filed St, Torrington, CT 06790

Case Status: Pending

Nature of the case: Foreclosure: Foreclosure of Debtor's prior residence; Date
filed: 09/27/2019

-------


10) Repossessions, foreclosures and garnishments

Creditor's Name: Midwest Business Capital

Creditor's Address: c/o Thomas McDermott Jr Esq, Litchfield, CT, 6759

Description of the Property: Foreclosure and collection on business property

Explain what happened: Property was foreclosed




  Official Form 107                         Statement of Financial Affairs for Individuals
              Case 19-05688-dd           Doc 1-1       Filed 10/29/19 Entered 10/29/19 17:15:34               Desc
               Jennifer Lee Stepp & MatthewExhibit
                                            OrmistonPetition
                                                     Coons    part 2 Page 23 of 42
 Debtor 1                                                         _                  Case number (if known)
              First Name   Middle Name   Last Name



                                             Continuation Sheet for Official Form 107
Date: 05/2019

Value of the Property: Unknown

-------

Creditor's Name: Ditech Financial Llc

Creditor's Address: 332 Minnesota St Ste 610, Saint Paul, MN, 55101

Description of the Property: Foreclosure of Debtor's prior residence

Explain what happened: Property was foreclosed

Date: 09/2019

Value of the Property: $0.00

-------




  Official Form 107                         Statement of Financial Affairs for Individuals
              Case 19-05688-dd                  Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                   Desc
                                                 Exhibit Petition part 2 Page 24 of 42

            Jennifer Lee Stepp

            Matthew Ormiston Coons



                                 District of South Carolina




St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7




Pa rt 1 :    List Y our Cre dit ors Who H a ve Se c ure d Cla im s

                                                       Schedule D: Creditors Who Have Claims Secured by Property




                                                                          ✔                                        ✔
                 Ditech Financial Llc
                      110 Brynmoor Ct
                                                                              Reaffirmation Agreement




                                                                          ✔                                        ✔
                  Westlake Financial Svc
                      Ford F150
                                                                              Reaffirmation Agreement




                 DECO Associates                                          ✔                                        ✔


                      Lien on one of Debtor's LLC assets

                                                                              Reaffirmation Agreement




                  Woodridge Lake POA                                      ✔                                        ✔


                      110 Brynmoor Ct
                                                                              Reaffirmation Agreement
              Case 19-05688-dd                 Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                        Desc
                                                Exhibit Petition part 2 Page 25 of 42
                Jennifer Lee Stepp & Matthew Ormiston Coons
                                                                                                 If known




Pa rt 2 :      List Y our Une x pire d Pe rsona l Prope rty Le a se s

                                                                Schedule G: Executory Contracts and Unexpired Leases
                                                              Unexpired leases




                      Volkswagen Credit Inc


               2019 Volkswagon Atlas

                      Ally Financial
                                                                                                            ✔

               2017 Dodge Ram




Pa rt 3 :     Sign Be low




    /s/ Jennifer Lee Stepp                                    /s/ Matthew Ormiston Coons


            10/29/2019                                             10/29/2019
              Case 19-05688-dd           Doc 1-1        Filed 10/29/19 Entered 10/29/19 17:15:34               Desc
               Jennifer Lee Stepp & MatthewExhibit
                                            OrmistonPetition
                                                     Coons     part 2 Page 26 of 42
 Debtor 1                                                          _                 Case number (if known)
              First Name   Middle Name    Last Name



                                              Continuation Sheet for Official Form 108
1) Creditors who have secured claims

Sheffield                         Other - Snow Plow            No exemptions                       surrender
Financial Co




  Official Form 108                          Statem ent of Intention for Individuals Filing Under Chapter 7
                  Case 19-05688-dd           Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                                            Desc
                                               Exhibit Petition part 2 Page 27 of 42
 Fill in this information to identify your case:                                                     Check one box only as directed in this form and in
                                                                                                     Form 122A-1Supp:
 Debtor 1         Jennifer  Lee Stepp
                  __________________________________________________________________
                     First Name              Middle Name              Last Name
                                                                                                     ✔ 1. There is no presumption of abuse.
 Debtor 2           Matthew   Ormiston Coons
                    ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name                         2. The calculation to determine if a presumption of
                                                                                                           abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: ____________
                                         District of South Carolina                                        Means Test Calculation (Official Form 122A–2).
 Case number        ___________________________________________                                         3. The Means Test does not apply now because of
 (If known)
                                                                                                           qualified military service but it could apply later.


                                                                                                        Check if this is an amended filing


Official Form 122A 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                           10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
        ✔ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                    Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                    Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A            Column B
                                                                                                       Debtor 1            Debtor 2 or
                                                                                                                           non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                  $_________           $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                            $_________           $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                          $_________           $__________

   5. Net income from operating a business, profession,
                                                                      Debtor 1    Debtor 2
      or farm
      Gross receipts (before all deductions)                            $______    $______
        Ordinary and necessary operating expenses                     – $______ – $______
                                                                                              Copy
        Net monthly income from a business, profession, or farm         $______    $______ here         $_________           $__________

   6. Net income from rental and other real property                  Debtor 1    Debtor 2
      Gross receipts (before all deductions)                            $______    $______
        Ordinary and necessary operating expenses                     – $______ – $______
                                                                                              Copy
        Net monthly income from rental or other real property           $______    $______ here         $_________           $__________
  7. Interest, dividends, and royalties                                                                 $_________           $__________



Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                   page 1
                    Case 19-05688-dd                                      Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34                                                        Desc
                                                                           Exhibit Petition part 2 Page 28 of 42

Debtor 1           Jennifer  Lee Stepp
                   _______________________________________________________                                                   Case number (if known)_____________________________________
                   First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                      $__________                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................
            For you ..................................................................................   $______________
            For your spouse ..................................................................           $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                                                   $__________                  $___________
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
           ______________________________________                                                                                    $_________                   $___________
           ______________________________________                                                                                    $_________                   $___________
           Total amounts from separate pages, if any.                                                                            + $_________                  + $___________
   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                                            $_________
                                                                                                                                                           +      $___________
                                                                                                                                                                                        =   $__________
                                                                                                                                                                                            Total current
                                                                                                                                                                                            monthly income

   Part 2:           Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.       Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here           $__________

                  Multiply by 12 (the number of months in a year).                                                                                                                       x 12
       12b.       The result is your annual income for this part of the form.                                                                                                    12b.    $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household. ................................................................................................. 13.      $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.



       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                 Chapter 7 Statement of Your Current Monthly Income                                                                     page 2
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Debtor 1     Jennifer  Lee Stepp
             _______________________________________________________                            Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                   /s/ Jennifer Lee Stepp
                   __________________________________________________________                  ______________________________________
                                                                                               /s/ Matthew Ormiston Coons
                   Signature of Debtor 1                                                       Signature of Debtor 2

                       10/29/2019
                  Date _________________                                                            10/29/2019
                                                                                               Date _________________
                       MM / DD / YYYY                                                               MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                 page 3
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   Fill in this information to identify your case:


  Debtor 1            Jennifer Lee Stepp
                     __________________________________________________________________
                      First Name               Middle Name             Last Name

  Debtor 2            Matthew Ormiston Coons
                      ________________________________________________________________
  (Spouse, if filing) First Name               Middle Name             Last Name


  United States Bankruptcy Court for the: District
                                          ______________________
                                                   of South Carolina   District of __________

  Case number         ___________________________________________
   (If known)

                                                                                                             Check if this is an amended filing




St a t e m e nt of Ex e m pt ion f                              m Pre sum pt ion of Abuse U nde r § 7 0 7 (b)(2 )                                           12/1

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 22A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 22A-1 if you believe that this
is required by 11 U.S.C. § 707(b)(2)(C).


Pa rt 1 :       I de nt ify t he K ind of De bt s Y ou H a ve

   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the            on        of the Voluntary Petition
                                   (Official Form 1 ).
    ✔
        No. Go to Form 22A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
            this supplement with the signed Form 22A-1.
        Yes. Go to Part 2.

Pa rt 2 :       De t e rm ine Whe t he r M ilit a ry Se rvic e Provisions Apply t o Y ou


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
    ✔   No. Go to line 3.
        Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
             10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).
                 ✔   No. Go to line 3.
                     Yes. Go to Form 22A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                                  this supplement with the signed Form 22A-1.
   Are you or have you been a Reservist or member of the National Guard?
    ✔       No. Complete Form 22A-1. Do not submit this supplement.
            Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
            ✔   No. Complete Form 22A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                     I was called to active duty after September 11, 2001, for at least         If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                         Form 22A-1. On the top of page 1 of Form 22A-1, check
                                                                                                box 3, The Means Test does not apply now, and sign
                     I was called to active duty after September 11, 2001, for at least
                                                                                                Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                                Form 22A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                                Official Form 22A-1 during the exclusion period. The
                     I am performing a homeland defense activity for at least 90 days.          exclusion period means the time you are on active duty
                                                                                                or are performing a homeland defense activity, and for
                     I performed a homeland defense activity for at least 90 days,              540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days before
                                                                                                If your exclusion period ends before your case is closed,
                     I file this bankruptcy case.
                                                                                                you may have to file an amended form later.




Official Form 22A 1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                  page 1
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ADT Security Services                                 Boehringer Ingelheim/Merial
P.O. Box 650485                                       P.O. Box 281348
Dallas, TX 75265                                      Atlanta, GA 30384

Aargon Collection Agency                              Capehart Scatchard Re: Swift Financial
8668 Spring Mountain Road                             PO Box 5016
Las Vegas, NV 89117                                   Mount Laurel, 08054

Accounting and More/Gwen Burgess                      Capehart Scatchard Re: Swift Financial
P.O. Box 550                                          8000 Midatlantic Dr., Ste. 300S
Litchfield, CT 06759                                  Mount Laurel, NJ 08054

Alliance One Re: Target Credit Card                   Capital One
Target Card Services                                  P.O. Box 71083
PO Box 660170                                         Charlotte, NC 28272
Dallas, TX 75266
                                                      Capital One Spark Business Card
Ally Financial                                        P.O. Box 71083
200 Renaissance Ctr # B0                              Carlotte, NC 28272-1083
Detroit, MI 48243
                                                      Charles Towne Animal Hospital
American Express Blue                                 850 Savannah Hwy
P.O. Box 981535                                       Charleston, SC 29407
El Paso, TX 79998
                                                      Citi Cards
American Express Business Card Delta Skymiles         P.O. Box 70166
200 Vesey Street                                      Philadelphia, PA 19176
New York, NY 10285-3106
                                                      CitiBank
American Express Business Gold Card                   P.O. Box 9001037
200 Vesey Street                                      Louisville, KY 40290
New York, NY 10285-3106
                                                      Clover TeleCheck Services Inc.
American Express Delta Reserve                        P.O. Box 60028
P.O. Box 981535                                       City of Industry, CA 91716
El Paso, TX 79998
                                                      Commercial Collections of America LLC
American Express Delta Reserve Card                   24301 Southland Dr.
P.O. Box 650448                                       Suite 310
Dallas, TX 75265                                      Hayward, CA 94545

Amerigas                                              Contract Callers (re: Amerigas)
358 Torrington Road                                   PO Box 660288
Litchfield, CT 06759                                  Dallas, TX 75266

BARR Credit Services (collection firm for Zoe         Credit Collections Bureau Professional Debt C
Zoetis US                                             PO Box 90508
812 Springdale Dr                                     Sioux Falls, SD 57109
Exton, PA 19341
                                                      DECO Associates
Barclays Bank Delaware                                Donald Coons
P.O. Box 8801                                         17 Bookside Lane
Wilmington, DE 19801                                  Sherman, CT 06784

Bayer Healthcare LLC                                  Damien Oskwarek
PO Box 223075                                         PO Box 176
Pittsburgh, PA 15251-2075                             Litchfield, CT 06759

Best Buy Credit Card Citi Retail Services             Damien Oskwarek
P.O. Box 790441                                       47 Slick Rook Rd
St Louis, MO 63179-0441                               Murphy, NC 28906
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De Lage Landen Financial Services INC                Harvard Drug Group re: First Veterinary Suppl
P.O. Box 41602                                       1821 Reliable Parkway
Philadelphia, PA 19101                               Chicago, IL 60686

Diamondback Drugs, A Wedgewood Village Pharma        Henry Schein
7631 East Indian School Road                         400 Metro Place North
Scottsdale, AZ 85251                                 Dublin, OH 43017

Discover                                             Highland Capital Corporation
P.O. Box 71084                                       5 Center Avenue
Charlotte, NC 28272                                  Little Falls, NJ 07424

Ditech Financial Llc                                 Hook and Ladder Oil
332 Minnesota St Ste 610                             74 Mygatt Road
Saint Paul, MN 55101                                 New Preston, CT 06777

Ditech Financial Llc                                 IRS
PO Box 7153                                          Centralized & Insolvency Operation
Pasadena, 91109                                      PO Box 7346
                                                     Philadelphia, PA 19144
Drug Enforcement Administration
8701 Morrissette Dr                                  Idexx
Springfield, VA 22152                                P.O. Box 101327
                                                     Atlanta, GA 30392
Eastman Credit Union Visa
P.O. Box 1989                                        Indeed, Inc
Kingsport, TN 37662                                  Mail Code 5160
                                                     PO Box 660367
Eversource                                           Dallas, TX 75266-0367
PO Box 56002
Boston, MA 02205                                     Jeffery Driesen
                                                     343 Clayton Dr
Eversource                                           Charleston, SC 29414
P.O. Box 56002
Boston, MA 02205-6002                                Kabbage
                                                     925B Peachtree Street NE
Fed Loan Serv                                        Suite 1688
Po Box 60610                                         Atlanta, GA 30309
Harrisburg, PA 17106
                                                     Kohls Card
Ferris Gorra                                         PO Box 2983
53 Carlson Ridge                                     Milwaukee, WI 53201
New Milford, CT 06776
                                                     Lawrence Andrea Attorney at Law
Final Gift Crematorium                               23 South Main Street
2 Daniels Way                                        Norwalk, CT *06854
Cranston, RI 02921
                                                     Litchfield Hills Pediatrics
First Veterinary Supply                              481 Bantam Road
17187 North Laurel Park Drive                        Litchfield, CT 06759
Suite 300
Livonia, MI 48152                                    Litchfield Property Care
                                                     P.O. Box 1751
Gap Visa/Synchrony Bank                              Litchfield, CT 06759
P.O. Box 960017
Orlando, FL 32896                                    MCCALLA RAYMER LEIBERT PIERCE LLC
                                                     50 WESTON STREET
Goshen Tax Collector                                 Hartford, CT 06120
42A North Street
Goshen, CT 06756                                     MWI Animal Health
                                                     P.O. Box 5717
                                                     Boise, ID 83705
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Medical University of South Carolina (Finley          Royal Canin
1 Poston Rd.                                          500 Fountain Lakes Boulevard
Ste 350                                               Suite 100
Charleston, SC 29407                                  Saint Charles, MO 63301

Medical University of South Carolina (Jennife         Sheffield Financial Co
1 Poston Rd.                                          2554 Lewisville Clemmons
Ste 350                                               Clemmons, NC 27012
Charleston, SC 29407
                                                      Sheffield Financial Co
Midwest Business Capital                              P.O. Box 580229
c/o Thomas McDermott Jr Esq                           Charlotte, NC 28258
21 South St
Litchfield, CT 6759                                   State of CT Dept of Revenue Services
                                                      P.O. Box 5089
Midwest Business Capital                              Hartford, CT 06102-5089
c/o Thomas McDermott Jr Esq
21 South St                                           State of CT SS: Goshen, Joseph Parillo, State
Litchfield, CT 06759                                  PO Box 137
                                                      Watertown, CT 06795
Midwest Veterinary Supply
P.O. Box 856500                                       State of CT. Dept. Of Consumer Protection
Minneapolis, MN 55485-6500                            Drug Control Division
                                                      450 Columbus Blvd
Mike Kent Carpentry                                   Hartford, CT 06106
259 Brush Hill Road
Litchfield, CT 06759                                  Syncb/Amazon
                                                      Po Box 965015
Optimum                                               Orlando, FL 32896
622 Torrington Road
Litchfield, CT 06759                                  Syncb/Gapdc
                                                      Po Box 965005
Patterson                                             Orlando, FL 32896
Patterson Vet Supply Inc
28905 Network Place                                   TIAA Bank
Chicago, IL 60673                                     1700 Lincoln Street
                                                      Lower Level 3 - Dept #1608
Paypal                                                Denver, CO 80203
PO Box 45950
Omaha, NE 68145-0950                                  Target Red Card
                                                      P.O. Box 673
Paypal/Swift Capital                                  Minneapolis, MN 55440
3505 Silverside Road Suite 200
Wilmington, DE 19810                                  Telecom Self Reported
                                                      Po Box 4500
Paypal/Swift Capital (see above their listed          Allen, TX 75013
3505 Silverside Road
Suite 200                                             Torrington Maintenance Supply
Wilmington, DE 19810                                  462 Main Street Rear
                                                      Torrington, CT 06790
Primary Capital
80 Main Street                                        Town of Litchfield
St 550                                                PO Box 465
West Orange, NJ 07052                                 Thomaston, CT 06787

ReadyRefresh by Nestle                                Town of Litchfield
PO Box 856192                                         P.O. Box 356
                                                      Litchfield, CT 06759
Louisville
, KY 40285                                            Town of Litchfield Tax Collector
                                                      PO Box 356
                                                      Litchfield, CT 06759
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Town of Litchfield Tax Collector                        Westlake Financial Svc
P.O. Box 356                                            4751 Wilshire Blvd Ste 1
Litchfield, CT 06759                                    Los Angeles, CA 90010

Town of Litchfield Water Pollution Control              Woodridge Lake POA
PO Box 343                                              C/O Ronald Barba Esq.
Litchfield, CT 06759                                    250 State St, #D-2
                                                        North Haven, CT 06473
Travelers Insurance
PO BOX 660317                                           Woodridge Lake POA
Dallas, TX 75266-0317                                   260 E. Hyerdale Drive
                                                        Goshen, CT 06756
USA Hauling and Recycling Inc.
185 Torrington Rd                                       Woodridge Lake Sewer District
Winsted, CT 06098                                       113 Brush Hill Road
                                                        PO Box 258
USDOJ Hartford Resident Office                          Goshen, CT *06756
716 Brook St
Suite 110                                               Zoetis US (see above the associated collecti
Rocky Hill, CT 06067                                    P.O. Box 419022
                                                        Boston, MA 02241-9022
United Health Care Oxford
P.O. Box 1697
Newark, NJ 07101-1697

United Midwest Savings Bank
6460 Busch Blvd Ste 201
Columbus, OH 60686

VCA Charles Towne Animal Hospital
850 Savannah Highway
Charleston, SC 29407

VCA Charlestowne Animal Hospital
850 Savannah Hwy
Charleston, SC 29407

Volkswagen Credit Inc
1401 Franklin Blvd
Libertyville, IL 60048

Vw Credit Inc
1401 Franklin Blvd
Libertyville, IL 60048

WB Mason Company Inc
59 Centre Street
Brockton, MA 02301

Webster Bank
281 Meadow Street
Waterbury, CT 06702

Webster Bank Credit Card
P.O. Box 790408
St. Oouis, MO 63179-0408

Westlake Financial
PO Box 76809
Los Angeles, CA 90054-0809
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                             United States Bankruptcy Court
                             District of South Carolina




         Jennifer Lee Stepp & Matthew Ormiston
In re:                                                        Case No.
         Coons
                                                              Chapter     7
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              10/29/2019                         /s/ Jennifer Lee Stepp
Date:
                                                 Signature of Debtor

                                                 /s/ Matthew Ormiston Coons
                                                 Signature of Joint Debtor
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N ot ic e Re quire d by 1 1 U.S.C. § 3 4 2 (b) for
I ndividua ls Filing for Ba nk rupt cy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

     You are an individual filing for bankruptcy,
                                                                          $245     filing fee
     and                                                                   $75     administrative fee
                                                                +          $15     trustee surcharge
     Your debts are primarily consumer debts.
                                                                          $335     total fee
     Consumer debts are defined in 11 U.S.C.
     § 101(8) as “incurred by an individual                     Chapter 7 is for individuals who have financial
     primarily for a personal, family, or                       difficulty preventing them from paying their
     household purpose.”                                        debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
T he t ype s of ba nk rupt c y t ha t a re                      bankruptcy discharge relieves you after
a va ila ble t o individua ls                                   bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
    Chapter 7 — Liquidation
                                                                However, if the court finds that you have
    Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
    Chapter 12 — Voluntary repayment plan
                 for family farmers or                          may deny your discharge.
                 fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
    Chapter 13 — Voluntary repayment plan
                 for individuals with regular                   debts are not discharged under the law.
                 income                                         Therefore, you may still be responsible to pay:
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice of
                                                                     domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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    most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
    certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
    fraud or theft;
                                                                you may choose to proceed under another
    fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
    intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
    death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2
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Re a d T he se I m port a nt Wa rnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:

Chapter 13: Repayment plan for                                       domestic support obligations,
            individuals with regular                                 most student loans,
            income                                                   certain taxes,
                                                                     debts for fraud or theft,
          $235    filing fee
                                                                     debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                     most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                          certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.
                                                                     certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
set forth in 11 U.S.C. § 109.                                        certain long-term secured debts.



Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
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                                                                A married couple may file a bankruptcy case
  Wa rning: File Y our Form s on T im e                         together—called a joint case. If you file a joint
                                                                case and each spouse lists the same mailing
  Section 521(a)(1) of the Bankruptcy Code                      address on the bankruptcy petition, the
  requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
  about your creditors, assets, liabilities, income,
  expenses and general financial condition. The                 your spouse one copy of each notice, unless
  court may dismiss your bankruptcy case if you do              you file a statement with the court asking that
  not file this information within the deadlines set by         each spouse receive separate copies.
  the Bankruptcy Code, the Bankruptcy Rules, and
  the local rules of the court.

  For more information about the documents and                  U nde rst a nd w hic h se rvic e s you
  their deadlines, go to:                                       c ould re c e ive from c re dit
  http://www.uscourts.gov/bkforms/bankruptcy_form               c ounse ling a ge nc ie s
  s.html#procedure.
                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Ba nk rupt c y c rim e s ha ve se rious
                                                                If you are filing a joint case, both spouses must
c onse que nc e s
                                                                receive the briefing. With limited exceptions,
    If you knowingly and fraudulently conceal                   you must receive it within the 180 days before
    assets or make a false oath or statement                    you file your bankruptcy petition. This briefing
    under penalty of perjury—either orally or                   is usually conducted by telephone or on the
    in writing—in connection with a                             Internet.
    bankruptcy case, you may be fined,
    imprisoned, or both.                                        In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
     All information you supply in connection                   management instructional course before you
    with a bankruptcy case is subject to                        can receive a discharge. If you are filing a joint
    examination by the Attorney General acting                  case, both spouses must complete the course.
    through the Office of the U.S. Trustee, the
    Office of the U.S. Attorney, and other                      You can obtain the list of agencies approved to
    offices and employees of the U.S.                           provide both the briefing and the instructional
    Department of Justice.                                      course from:
                                                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
M a k e sure t he c ourt ha s your                              In Alabama and North Carolina, go to:
m a iling a ddre ss                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/

The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

for Individuals Filing for Bankruptcy (Official
                                                                If you do not have access to a computer, the
Form 101). To ensure that you receive
                                                                clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                help you obtain the list.
Rule 4002 requires that you notify the court of
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 4
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                                             District of South Carolina

    Jennifer Lee Stepp & Matthew Ormiston Coons




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       Case 19-05688-dd                 Doc 1-1 Filed 10/29/19 Entered 10/29/19 17:15:34   Desc
                                         Exhibit Petition part 2 Page 41 of 42

All aspects of bankruptcy litigation with the exception of any adversary litigation.




Adversary litigation
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    10/29/2019                /s/ Sean Markham, 76088



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